                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                NORTHERN DIVISION

SECURITY NATIONAL INSURANCE                        )
COMPANY,                                           )
               Plaintiff,                          )
                                                   )
       v.                                          )       No.____________
                                                   )
HOME FEDERAL BANK, CREATIVE                        )
CONCEPTS AND DEVELOPMENT, LLC, and                 )
BANCINSURE, INC. ,                                 )
                                                   )
                      Defendants.                  )

                    COMPLAINT FOR DECLARATORY JUDGMENT

       NOW COMES the Plaintiff, SECURITY NATIONAL INSURANCE COMPANY

(“Security National”), by and through its counsel, and for its Compliant for Declaratory

Judgment states as follows:

                                       THE PARTIES

       1.      Security National is, and at all times relevant hereto was, an insurance

corporation organized and existing under the laws of the State of Texas with its principal place

of business in Dallas, Texas.

       2.      Defendant HOME FEDERAL BANK (“Home Federal”) is, and at all times

relevant hereto was, a bank with approximately twenty-three branches located in Knox,

Anderson, Blount and Sevier Counties in Tennessee. Based upon further information and belief,

Home Federal Bank Corporation is, and at all times relevant hereto was, a corporation organized

and existing under the laws of the Commonwealth of Kentucky with its principal place of

business in Middlesboro, Kentucky.




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       3.      Defendant CREATIVE CONCEPTS & DEVELOPMENT, LLC (“Creative

Concepts”), based upon information and belief is, and at all times relevant hereto was, a Limited

Liability Company organized and existing under the laws of the State of Tennessee with its

principal place of business in Knoxville, Tennessee. Creative Concepts is joined in this action

for the purpose of binding Creative Concepts to the judgment of this Court.

       4.      Defendant BANCINSURE, INC. (“BancInsure”) is, and at all times relevant

hereto was, an insurance corporation organized and existing under the laws of the State of

Oklahoma with its principal place of business in Oklahoma City, Oklahoma. BancInsure is

joined in this action for the purpose of binding BancInsure to the judgment of this Court.

                                JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction in this matter pursuant to 28 U.S.C.

§1332(a) because this matter is an action between citizens of different States and, because this

matter involves a request for a declaration of rights with respect to an potential liability

insurance coverage for an underlying claim allegedly valued at $1.1 million, the matter in

controversy exceeds the sum or value of $75,000, exclusive of costs and interest.

       6.      This Court has general personal jurisdiction over Defendant Home Federal

because Home Federal, through the maintenance of bank branches at approximately twenty three

locations in four counties within the State of Tennessee, has established the requisite continuous

and systematic business contacts with the State of Tennessee.

       7.      This Court has general personal jurisdiction over Defendant Creative Concepts

because Defendant Creative Concepts is a Tennessee Limited Liability Company and, thus is

considered to be a citizen of Tennessee.




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       8.      This Court has, at a minimum, specific personal jurisdiction over Defendant

BancInsure because, by underwriting an insurance risk located within the State of Tennessee and

issuing a policy of insurance to Home Federal which has approximately twenty-three branches in

four counties in Tennessee, BancInsure has established minimum contacts with the State of

Tennessee and has purposefully availed itself of the protections of Tennessee law.

       9.      An actual controversy exists between Security National and all named Defendants

and, thus, this Court may declare the rights and other legal relations of the parties herein

pursuant to 28 U.S.C. §2201(a).

       10.     Venue is proper pursuant to 28 U.S.C. §1391(b)(2) because a substantial part of

the events or omissions giving rise to this Complaint for Declaratory Judgment occurred within

the Eastern District of Tennessee.

                                        BACKGROUND

       11.     Based upon information and belief, on February 2, 2007, Home Federal made a

loan to Creative Concepts in the original amount of $1.5 million.

       12.     Based upon further information and belief, on May 16, 2008, Home Federal made

an additional loan to Creative Concepts in the amount of $600,000.

       13.     Based upon further information and belief, the subject loans were secured in part

by Deeds of Trust from Fultz Holdings, LLC (a Tennessee Limited Liability Company) to Home

Federal, as well as the personal guaranty of Patrick M. Fultz.

       14.     Based upon further information and belief, in making the aforementioned loans

Home Federal relied upon Personal Financial Statements which showed a personal net worth of

Patrick M. Fultz in excess of $4.9 million as of February 12, 2008.




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       15.     On or about August 31, 2009, BancInsure issued to Home Federal a Financial

Institution Bond No. FIB 0010768 (the “BancInsure Bond”) with effective dates of August 31,

2099 to August 31, 2012. Also on or about August 31, 2009, BancInsure issued an “Extended

Professional Liability Policy No. PLI 0011549 (the “BancInsure PLI Policy”) to Home Federal

with effective dates of August 31, 2009 to August 31, 2012.

       16.     On February 23, 2011, Home Federal filed a Complaint in the Chancery Court for

Knox County, Tennessee against Creative Concepts and Patrick M. Fultz. A copy of Home

Federal’s Complaint is attached as Exhibit A. The resulting lawsuit, hereinafter the “Underlying

Action,” was assigned Case No. 179806-3 by the Clerk of the Knox County Chancery Court.

       17.     Home Federal’s Complaint filed in the Underlying Action alleges that Creative

Concepts is indebted to Home Federal pursuant to the terms of promissory notes dated February

2, 2007 and May 16, 2008, and that Creative Concepts is in “default” under the terms of both

Notes. See Exhibit A, ¶¶ 4 and 6.

       18.     Home Federal’s Complaint filed in the Underlying Action requests that the

Chancery Court award Home Federal a judgment in excess of $1.4 million pursuant to the terms

of the 2007 Note and in excess of $450,000 under the 2008 Note, plus additional interest,

attorney’s fees, expenses and costs of collection. See Exhibit A.

       19.     On August 24, 2011, Home Federal notified BancInsure of the facts,

circumstances and the situation giving rise to the Underlying Action. This notice came in the

form of an e-mail from Home Federal’s Treasurer/Enterprise Risk Officer, John D. Moore.

       20.     On August 25, 2011, BancInsure acknowledged “receipt” of Home Federal’s

“potential claim.” A copy of BancInsure’s August 25, 2011 letter is attached as Exhibit B.




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       21.     On August 29, 2011 Home Federal submitted a “Proof of Loss” to BancInsure

setting forth the facts, circumstances and the situation which gave rise to the Underlying Action.

A copy of Home Federal’s Proof of Loss is attached as Exhibit C.

       22.     On December 19, 2011, BancInsure disclaimed coverage under its Financial

Institution Bond issued to Home Federal.        A Copy of BancInsure’s December 19, 2011

disclaimer letter is attached as Exhibit D.

       23.     The BancInsure Bond and the BancInsure PLI Policy were cancelled effective

March 16, 2012. A copy of the Cancellation Confirmation is attached as Exhibit E.

       24.     On July 13, 2012, Creative Concepts sought leave of the Knox County Chancery

Court to file a Counter-Complaint against Home Federal in the Underlying Action. Based upon

information and belief, the Chancery Court of Knox County granted leave for Creative Concepts

to file its Counter-Complaint. A copy of the Counter-Complaint is attached hereto as Exhibit F.

       25.     The Counter-Complaint filed against Home Federal in the Underlying Action

requests a judgment in favor of Creative Concepts in the amount of $1.1 million. See Exhibit F.

       26.     Based upon information and belief, between July 13, 2012 and August 23, 2012,

Home Federal notified BancInsure of the Counter-Complaint filed in the Underlying Action.

       27.     On August 23, 2012, BancInsure disclaimed coverage under the BancInsure PLI

Policy for the Counter-Complaint filed in connection with the Underlying Action. A copy of

BancInsure’s Counsel’s August 23, 2012 disclaimer letter is attached as Exhibit G.

                            THE SECURITY NATIONAL POLICY

       28.     On March 16, 2012, Security National issued a Directors and Officers Liability

Insurance Policy to Home Federal under No. SDO 1102110 00 (the “Security National D&O

Policy”). A copy of the Security National Policy is attached as Exhibit H.



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       29.       The Insuring Agreement of the Security National Policy provides, in relevant

part, as follows:

                 SECTION I. INSURING AGREEMENTS
                 …

                                        Company Lender Liability

                 D.     The Insurer will pay on behalf of the company, loss that is the
                        result of a claim for a lending wrongful act first made during the
                        policy period or during the Extended Reporting Period, if
                        exercised.

See Exhibit H.

       30.       The Security National Policy further provides, in relevant part, as follows:

                 SECTION IV. EXCLUSIONS

                 A.     The Insurer shall not be liability to make any payment for loss in
                        connection with any claim based upon, arising out of, relating to,
                        in consequence of, or in any way involving:

                        …

                        11. a. any wrongful act or any fact, circumstance or situation that
                               has been the subject of notice under any policy of insurance
                               in effect prior to the effective date of this policy, or

                            b. any other wrongful act, whether occurring, which together
                               with a wrongful act that has been the subject of such
                               notice would constitute interrelated wrongful acts.
See Exhibit H.

       31.       The Security National Policy further provides, in relevant part, as follows:

                 SECTION VIII. DEFENSE EXPENSES AND SETTLEMENTS

                 A.     The Insurer shall have no obligation to defend any claim but shall pay, on
                        the condition that it has given its written consent, the reasonable defense
                        expenses incurred by the insured persons or the company in the defense
                        of a claim that is covered under this policy. Defense expenses are part of
                        loss and are subject to the other provisions of this policy governing
                        payment by the Insurer of loss.
See Exhibit H.

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                          COUNT I – DECLARATORY JUDGMENT

       32.      Security National re-alleges and re-asserts the averments contained within

paragraphs 1 through 31 above, as if each and every such averment were set forth in full herein.

       33.      Any claim made in Creative Concepts’ Counter-Complaint against Home Federal

filed in connection with the Underlying Action is based upon, arises out of, relates to, is in

consequence of, or in some way involves a fact, circumstance or situation that was the subject of

Home Federal’s August 24, 2011 notice to BancInsure.

       34.      Home Federal’s August 24, 2011 notice to BancInsure constituted notice under a

policy of insurance in effect prior to the effective date of the Security National Policy.

       35.      Therefore, any coverage that might otherwise be afforded under the Security

National Policy is barred under Exclusion A.11. to the Security National Policy.

       36.      Thus, Security National is under no obligation to: (a) pay defense expenses

incurred by Home Federal in connection with the Counter-Complaint filed in the Underlying

Action; (b) indemnify Home Federal for any judgment entered or settlement reached in

connection with the Counter-Complaint filed in the Underlying Action; or (c) provide any other

benefits to which Home Federal might otherwise purportedly be entitled under the Security

National Policy in connection with the Underlying Action.

       WHEREFORE, the Plaintiff, SECURITY NATIONAL INSURANCE COMPANY prays

this Honorable Court for an Order which:

       A. Adjudicates and declares the rights of the parties hereto under the Security National

             Policy;




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      B. Finds and declares that Security National is under no obligation to pay defense

         expenses as that term is defined by the Security National Policy to Home Federal in

         connection with the Counter-Complaint filed in the Underlying Action;

      C. Finds and declares that Security National is under no obligation to indemnify Home

         Federal for any judgment entered or settlement reached in connection with the

         Counter-Complaint filed in the Underlying Action;

      D. Finds and declares that Security National is under no obligation to provide any other

         benefits to which Home Federal might otherwise purportedly be entitled under the

         Security National Policy;

      E. Finds and declares that Security National is under no obligation to pay any proceeds

         of the Security National Policy to Creative Concepts as a result of any judgment

         entered against Home Federal in connection with the Underlying Action;

      F. Finds and declares that Security National is under no obligation to pay any proceeds

         of the Security National Policy to Creative Concepts as a result of any settlement

         reached in connection with the Underlying Action under which Home Federal must

         make any payment to Creative Concepts;

      G. Finds and declares that BancInsure is bound by the findings and declarations of this

         Court as prayed for above; and

      H. Grants Security National any and all further relief that this Honorable Court may

         deem equitable and just.




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                                   Respectfully submitted,



                                      /s/ William R. Meyer
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